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 Case    2:10-cv-05525-PGS-ES
      10-23463-DHS    Doc 21 FiledDocument
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                           Certificate of Service Page 1 of 4
B18 (Official Form 18) (12/07)
                                     UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                       Case No.: 10−23463−DHS
                                       Chapter: 7
                                       Judge: Donald H. Steckroth

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Yakov Smotritskiy                                        Rimma Telepinskaya
   1 Lee Court                                              1 Lee Court
   Flanders, NJ 07836                                       Flanders, NJ 07836
Social Security No.:
   xxx−xx−8830                                              xxx−xx−8360
Employer's Tax I.D. No.:




                                           DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).




                                                           BY THE COURT

Dated: August 13, 2010                                     Donald H. Steckroth
                                                           United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
   Case
 Case    2:10-cv-05525-PGS-ES
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B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

             This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and
it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

            The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For
example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to
attach wages or other property, or to take any other action to collect a discharged debt from the debtor. [In a case
involving community property: There are also special rules that protect certain community property owned by the
debtor's spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required
to pay damages and attorney's fees to the debtor.

             However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest,
against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case.
Also, a debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

            The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this
case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to
debts owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



             This information is only a general summary of the bankruptcy discharge. There are exceptions to
these general rules. Because the law is complicated, you may want to consult an attorney to determine the
exact effect of the discharge in this case.
       Case
     Case    2:10-cv-05525-PGS-ES
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                          CERTIFICATE OF NOTICE
District/off: 0312-2           User: admin                 Page 1 of 2                   Date Rcvd: Aug 13, 2010
Case: 10-23463                 Form ID: b18                Total Noticed: 39

The following entities were noticed by first class mail on Aug 15, 2010.
db/jdb       +Yakov Smotritskiy,    Rimma Telepinskaya,    1 Lee Court,   Flanders, NJ 07836-9410
smg           U.S. Attorney,   970 Broad St.,    Room 502,    Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg          +United States Trustee,    Office of the United States Trustee,     One Newark Center,   Suite 2100,
               Newark, NJ 07102-5235
510817172    +AmeriFinancial Solutions, LLC,    PO BOX 64488,    Baltimore, MD 21264-4488
510743665    +Bac Home Loans/Countrywide,    450 American Street #SV416,    Simi Valley, CA 93065-6285
510817173    +CCA,   300 Canal View Blvd Suite 130,     Rochester, NY 14623-2811
510743669    +Celentano, Stadtmauer & Walentowicz, LLP,     1035 Route 46 East,    P.O. Box 2594,
               Clifton, NJ 07015-2594
510743671    +Citifinancial,   300 Saint Paul Pl,     Baltimore, MD 21202-2120
510743678    +LB Retail,   450 Winks Lane,    Bensalem, PA 19020-5932
510743679    +LHR, Inc,   56 Main Street,    Hamburg, NY 14075-4905
510743677    +Ladco Leasing,   555 St. Charles Place,     Thousand Oaks, CA 91360-3982
510817174    +Lease Finance Group, LLC,    PO BOX 2410,    Sioux Falls, SD 57101-2410
510743686   ++PORTFOLIO RECOVERY ASSOCIATES LLC,    PO BOX 41067,    NORFOLK VA 23541-1067
             (address filed with court: Portfolio Recovery Associates,      120 Corporate Blvd Suite 100,
               Norfolk, VA 23502)
510817175    +Penn Credit Corporation,    PO BOX 988,    Harrisburg, PA 17108-0988
510743685    +Poonam Bhatia,   144 Lookout Road,    Mountain Lakes, NJ 07046-1212
510743687    +Pressler & Pressler, LLP,    Counsellors At Law,    7 Entin Road,    Parsippany, NJ 07054-5020
510743689    +St. Clare’s Hospital,    25 Pocono Road,    Denville, NJ 07834-2954
510743694    +Weltman, Weinberg & Reis Co,    323 W. Lakeside Avenue, Suite 200,     Cleveland, OH 44113-1099
The following entities were noticed by electronic transmission on Aug 13, 2010.
510743664    +EDI: AMEREXPR.COM Aug 13 2010 17:48:00      American Express,    P.O. Box 981537,
               El Paso, TX 79998-1537
510743666    +EDI: BANKAMER.COM Aug 13 2010 17:48:00      Bank Of America,    PO BOX 1390,
               Norfolk, VA 23501-1390
510743667    +EDI: BANKAMER.COM Aug 13 2010 17:48:00      Bank Of America,    4161 Piedmont Pkwy,
               Grennsboro, NC 27410-8119
510743668    +EDI: CAPITALONE.COM Aug 13 2010 17:48:00      Capital One,    PO Box 30281,
               Salt Lake City, UT 84130-0281
510840428     EDI: RECOVERYCORP.COM Aug 13 2010 17:48:00      Capital Recovery III LLC,
               Attn: Recovery Management Systems Corp,    25 S.E. 2nd Avenue, Suite 1120,     Miami, FL 33131-1605
510743670    +EDI: CHASE.COM Aug 13 2010 17:48:00      Chase Bank USA,    800 Brooksedge Blvd,
               Westerville, OH 43081-2822
510743672    +EDI: DISCOVER.COM Aug 13 2010 17:48:00      DISCOVER FIN SVCS LLC,     PO BOX 15316,
               Wilmington, DE 19850-5316
510743673    +EDI: WFNNB.COM Aug 14 2010 04:18:00      Fashing Bug,    1103 Allen Drive,    Milford, OH 45150-8763
510743674     EDI: HFC.COM Aug 13 2010 17:48:00      HSBC/ BON TON,    PO BOX 15524,    Wilmington, DE 19850
510743675    +EDI: HFC.COM Aug 13 2010 17:48:00      HSBC/BOSCOVS,   PO BOX 4274,     Reading, PA 19606-0674
510743676    +EDI: CBSKOHLS.COM Aug 13 2010 17:48:00      Kohls/Chase,    N56 W 17000 Ridgewood Dr,
               Menomonee Falls, WI 53051-7096
510743681    +EDI: RESURGENT.COM Aug 13 2010 17:48:00      LVNV Funding LLC/,    PO BOX 10584,
               Greenville, SC 29603-0584
510743680    +EDI: RESURGENT.COM Aug 13 2010 17:48:00      LVNV Funding LLC/,    PO BOX 10497,
               Greenville, SC 29603-0497
510743682    +EDI: TSYS2.COM Aug 13 2010 17:48:00      Macys,   9111 Duke Blvd,    Mason, OH 45040-8999
510743683    +E-mail/PDF: bankruptcy@ncfsi.com Aug 14 2010 00:11:35       New Century Financial,
               110 S Jefferson Rd # 104,    Whippany, NJ 07981-1038
510743684    +E-mail/Text: ebn@vativrecovery.com                            Palisades Collection, LLC,
               210 Sylvan Avenue,   Englewood, NJ 07632-2524
510743688    +EDI: SEARS.COM Aug 13 2010 17:48:00      SEARS,   PO BOX 6189,    Siuox Falls, SD 57117-6189
510743690    +EDI: CITICORP.COM Aug 13 2010 17:48:00      The Childrens Place,    PO Box 6497,
               Sioux Falls, SD 57117-6497
510743691    +EDI: AFNIVERIZONE.COM Aug 13 2010 17:48:00      Verizon New Jersey Inc,     500 Technology Dr,
               Weldon Spring, MO 63304-2225
510743692     EDI: FUNB.COM Aug 13 2010 17:48:00      Wachovia Bank,    PO BOX 3117,    Winston Salem, NC 27102
510743693    +EDI: WFFC.COM Aug 13 2010 17:48:00      Wells Fargo Financial Bank,     3201 N 4th Avenue,
               Sioux Falls, SD 57104-0700
                                                                                               TOTAL: 21
             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
510817176*     +Pressler & Pressler, LLP,   Counsellors At Law,   7 Entin Road,   Parsippany, NJ 07054-5020
                                                                                              TOTALS: 0, * 1, ## 0
Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.
Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).
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               ***** BYPASSED RECIPIENTS (continued) *****




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Aug 15, 2010                                       Signature:
